       Case 2:07-cr-00170-MCE Document 127 Filed 05/03/10 Page 1 of 2


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 6
 7                    IN THE UNITED STATES DISTRICT COURT
 8                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 9   UNITED STATES OF AMERICA,          )
                                        ) Cr. S-07-170 LKK
10           Plaintiff,                 ) Cr. S-07-289
                                        ) Cr. S-07-428
11      v.                              )
                                        ) STIPULATION AND ORDER
12   JUAN CAMACHO, et al                ) CONTINUING STATUS CONFERENCE
                                        ) AND EXCLUDING TIME UNDER THE
13                                      ) SPEEDY TRIAL ACT
             Defendant,                 ) (May 25, 2010 at 9:15 AM
14   ___________________________________) before Judge Karlton)
15
16           A status conference is now set for May 4 , 2010.
17     The Government has recently made a revised plea offer in this
18   case.
19
20      The Defendant is housed at the Butte County Jail in Oroville CA.
21   In order to resolve the case, Defendant, his counsel and an
22   interpreter must consider this offer.        For that reason, the parties
23   request the following stipulation be approved.
24        IT IS STIPULATED between the plaintiff, United States of
25   America and the Defendant, by and through their counsel, that the
26   status conference be continued to May 25, 2010 at 9:15 AM.
27
28                                         1
       Case 2:07-cr-00170-MCE Document 127 Filed 05/03/10 Page 2 of 2


 1        It is further stipulated that time from the date of this
 2   stipulation through May 25, 2010 shall be excluded from the time
 3   when trial must be commenced under the Speedy Trial Act because
 4   the case is so unusual or complex within the meaning of the Speedy
 5   Trial Act, and for defense preparation.        The parties stipulate that
 6   these are appropriate exclusions within the meaning of Title 18,
 7   U.S. Code Section 3161 (h) (7) (A) and (B) (ii) and (iv), and Local
 8 Codes T2 and T4.
 9 Dated May 2, 2010
10     s/s CAROLYN DELANEY                        s/s J TONEY
       Carolyn Delaney                             J Toney
11 First Assistant U.S. Attorney                Attorney for Defendant
12                                 ORDER
13       Based on the stipulation of the parties and good cause
14 appearing, the Court adopts the above stipulation in its entirety
15 as its order.     The Court further finds for the reasons given that
16 failure to allow this continuance would deny counsel time for
17 effective preparation and that the ends of justice outweigh the
18 interest of the public and defendants in a speed trial.
19 SO ORDERED.
20
     DATED: May 3, 2010
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